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                                          U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                    August 23, 2021

BY ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter pursuant to the Court’s Order dated August

19, 2021 (Dkt. No. 321) directing the Government to confer with legal counsel at the Metropolitan

Detention Center (“MDC”) and to file a response to the defense’s letter dated August 18, 2021

(Dkt. No. 319). The Government has conferred with legal counsel at the MDC, and this letter is

based on information provided to the Government during that conferral.

       As the Court is aware, over the past several months, the defendant has been provided with

five hours of video-teleconference (“VTC”) calls with her attorneys every weekday. MDC legal

counsel has assured the Government that no MDC staff members have interfered with, recorded,

or otherwise listened to the defendant’s VTC meetings with counsel.

       Previously, the defendant’s VTC sessions with counsel were conducted over a WebEx

connection generated by defense counsel. Recently, however, the MDC determined that the use

of a VTC connection generated outside of the Bureau of Prisons (“BOP”) system posed a security

threat and could more easily be accessed by third parties than a VTC connection generated by the

BOP itself. In order to address that security concern, the MDC provided its own BOP-generated

VTC virtual room for the defendant and her attorneys to use.
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         On or about August 12, 2021, MDC IT staff assigned the defendant such a BOP-generated

VTC virtual room for her to use with her attorneys. Due to an oversight by MDC IT staff, however,

that same VTC virtual room had also been assigned for a different group’s use at the same time as

the defendant’s VTC appointment. As a result of the inadvertent double-booking of the virtual

room, the participants in both VTC meetings were logged into the room at the same time.

         In order to ensure that such an issue does not occur again, MDC and BOP staff spent several

days working to set up a unique VTC virtual room for the defendant’s exclusive use on the BOP’s

system. That process was completed last week, and the defendant’s VTC meetings with counsel

resumed on or about August 20, 2021 using a unique VTC virtual room. MDC staff assess that

this VTC virtual room on the BOP’s system is more secure than a WebEx link generated by defense

counsel and will be exclusively for the defendant’s use, such that no other meeting will overlap

with the defendant within the virtual room. Now that this unique VTC virtual room is ready for

use, the defendant’s regularly scheduled VTCs with counsel have resumed for five hours every

weekday. Even during the temporary unavailability of VTCs, however, the defendant still had

regular access to counsel both over the phone and through in-person meetings at the MDC, during

which the defendant and counsel may review documents together. As noted in MDC legal

counsel’s August 14, 2021 email to defense counsel, (see Dkt. No. 319 at 2), such phone calls and

in-person visits with counsel are available every weekday. 1

         During VTCs with her attorneys, the defendant is currently permitted to bring any legal



1
  The defense letter references certain discovery materials that the defendant has recently had
difficulty accessing. Defense counsel has not informed the Government which discovery materials
are the source of this issue, but the Government remains available to address any specific issues
the defendant may have reviewing her discovery should the defense wish to seek assistance from
the undersigned. Otherwise, the Government understands that the defendant has worked with her
attorneys and MDC IT staff to address technical issues with discovery materials as needed.
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materials she can carry into the VTC room. Previously, the defendant was permitted to bring a

cart full of legal materials into the VTC room for meetings with defense counsel; however, the

defendant used that cart to barricade the door to the VTC room, thereby preventing MDC staff

from being able to access the room. Because of the security threat posed by the use of the cart to

barricade the door to the VTC room, the defendant is no longer permitted to bring the cart into the

room. Instead, the defendant may bring whatever materials she can carry into the room, and if she

needs other materials during a particular meeting with counsel, she may leave the VTC room,

retrieve those materials by hand, and then return to her meeting with counsel. With respect to in-

person meetings, as noted in MDC legal counsel’s August 14, 2021 email to defense counsel (see

Dkt. No. 319 at 2), MDC staff have been instructed that the defendant and defense counsel should

be allowed to pass documents to each other and review materials together during in-person visits.

       Should the Court have any questions or require any additional details regarding this topic,

the Government will promptly provide additional information.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney


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Cc: All Counsel of Record (By ECF)
